
49 So. 3d 867 (2010)
Richard E. STRINGER, Appellant,
v.
Mary E. GROVE, Appellee.
No. 5D10-1513.
District Court of Appeal of Florida, Fifth District.
December 23, 2010.
Richard E. Stringer, The Stringer Firm, Chartered, Sebastian, pro se.
Bill McCollum, Attorney General, and William H. Branch, Assistant Attorney General, Tallahassee, for Appellee.

ON CONFESSION OF ERROR
PER CURIAM.
Pursuant to the Appellee's confession of error, the order on Extending Child Support after the child reached the age of eighteen (18), is reversed and remanded to the trial court with instructions to vacate said order and to dismiss the motion
REVERSED and REMANDED.
MONACO, C.J., GRIFFIN and ORFINGER, JJ., concur.
